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EXHIBIT B

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ven AL IN THE UNITED STATES DISTRICT CGURPRTERN DE! “Cr OF PEXAS
NORTHERN DISTRICT OF TEXAS ft
DALLAS DIVISION
APR 2 8 2003
POSITIVE SOFTWARE SOLUTIONS, §
INC., § CLERK, U.S. DISTRICT COURT
§ BY Deputy
Plaintiff, §
§
Vv. § Civil Action No. 3:03-CV-0257-N
§
NEW CENTURY MORTGAGE §
CORPORATION, et al., §
§
Defendants. §

MEMORANDUM OPINION AND ORDER

Before the Court are Plaintiff Positive Software Solutions, Inc.’s (“Positive
Software’) motion for preliminary injunction and impoundment under the Copyright Act and
Defendants’ motions to compel arbitration. Defendant New Century Mortgage Corporation
(“New Century”) has recently advised the Court of certain conduct from which it is willing
to abstain in the future (although it did not agree to entry of an injunction); the Court grants
Positive Software injunctive relief to that extent. The Court also compels arbitration of the
balance of Positive Software’s claims.

I. BACKGROUND

New Century is in the mortgage business. It generates business through telephone

contacts with prospective borrowers. Positive Software developed a software product called

“LoanForce,” which provides automated support for that process, in conjunction with other

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third-party supplied software. New Century licensed LoanForce from Positive Software (the
“Software Subscription Agreement” or “SSA”).

The information collected by the users of LoanForce and generated by the operation
of Loan Force is collected and saved in an aggregation of data called a database.' LoanForce
interacts with the database through third party software. LoanForce communicates with the
database software through statements written in Structured Query Language (“SQL”). In
order for the LoanForce software to interact correctly with the database, a description of the
arrangement of the database, i.e., the composition of the various tables and fields and the
types of data contained in each field, is included in SQL statements within the LoanForce
source code (the “SQL Data Structures”).’

In late 2002 and early 2003, Positive Software became aware of a new software

package that New Century was using called LoanTrack, together with what are apparently

'A database is not simply a shoe box into which all the information is thrown. It is, rather,
a very structured hierarchy of information. For example, a relational database of related
information may comprise multiple tables, each of which is divided into multiple rows, each
of which is divided into multiple columns or fields, where all the rows in a given table each
contain the same collection of fields or columns. For example, a database for mortgage-
related telephone contacts might include: a customer table, where each customer is listed on
a row with fields for customer ID number, name, etc.; a telephone call table, where each row
describes a specific phone call with a customer, with appropriate fields to capture pertinent
information regarding that call; a loan table, where each row describes a specific loan to a
customer; and so on. Ifa column for customer ID number is included in every table, then the
tables can all relate to each other through that common field. This is obviously not a
technical or complete description of a database, but is sufficient for the matters at hand.

*In particular, they are SQL Create Table statements.

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databases called LFMoon and LTKMoon (collectively, “LoanTrack-1”). Although Positive
Software was not aware of the fact at the time, it presently appears that LoanTrack-1 was an
interim product that New Century intended to use as it made a transition away from
LoanForce to new products called LoanTrack-2 and MLAS, which were developed partly in-
house and partly by a contractor called eConduit.* New Century currently anticipates
LoanTrack-2 and MLAS will be usable by May, 2003. It appears that LoanTrack-1 will not
provide all of New Century’s business needs without LoanForce and/or its associated
database components. It appears that LoanTrack-2 and MLAS will provide all of New
Century’s business needs without utilizing the LoanForce application software.

The Software Subscription Agreement required annual renewal and payment of
license fees. During 2002, New Century told Positive Software that New Century might
want to expand its LoanForce license to include all of New Century’s branch offices. During
that same time, New Century was preparing its transition away from LoanForce with the
development of LoanTrack-1 and LoanTrack-2. At the end of 2002, when renewal license
fees were due, New Century asked Positive Software to defer full payment of the renewal fee
and to consider alternative billing arrangements. Although Positive Software did not know
it at the time, New Century did this in order to continue its use of LoanForce until New
Century’s replacement product was ready, without having to incur the full annual license fee

for LoanForce.

*New Century subsequently acquired eConduit.

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Positive Software, unbeknownst to New Century, was investigating New Century’s
LoanTrack-1 project and had concluded that LoanTrack-1 was making improper use of
Positive Software’s intellectual property rights in LoanForce. Positive Software thus began
to prepare for litigation with New Century. On January 1, 2003, New Century went into
default under the Software Subscription Agreement. On January 6, 2003, Positive Software
sent New Century demand for payment. New Century never made the payments required
under the Software Subscription Agreement. On February 6, 2003, Positive Software
declared the Software Subscription Agreement to be terminated. This lawsuit soon followed.

Positive Software seeks injunctive and monetary relief from New Century for breach
of the Software Subscription Agreement, copyright infringement, misappropriation of trade
secrets, violation of the Digital Millennium Copyright Act of 1998, conversion, fraud and
civil conspiracy. Positive Software moved for preliminary injunction relating to
LoanTrack-1. The Defendants moved to compel arbitration pursuant to the Software

Subscription Agreement. The Court will address those matters in turn.’

“New Century asks the Court in its motion to compel arbitration to exercise its discretion
under Rule 65 and defer the question of injunctive relief to the arbitrator in the arbitration
proceeding. The Court declines to defer ruling on Positive Software’s motion for preliminary
injunction and impoundment under the Copyright Act, because New Century agreed in the
Software Subscription Agreement, discussed infra, that Positive Software could apply to a
court for preliminary relief to stop the disclosure or misappropriation of confidential
information. Positive Software requests relief to enforce the terms of the Software
Subscription Agreement, enjoin further misappropriation of its confidential information, and
preserve the status quo between the parties pending arbitration. The issuance of a
preliminary injunction, thus, is proper. See RGI, Inc. v. Tucker & Assoc., Inc., 858 F.2d 227
(Sth Cir. 1988) (upholding preliminary injunction preserving status quo pending arbitration
where such relief was contemplated by the parties.)

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II. POSITIVE SOFTWARE IS ENTITLED TO A PRELIMINARY INJUNCTION
AGAINST INFRINGEMENT OF THE SQL DATA STRUCTURES IN LOANFORCE

The requirements for issuance of a preliminary injunction are (1) substantial showing
of likelihood of success on the merits; (2) substantial threat of irreparable injury; (3) balance
of harm weighs in favor of injunction; and (4) injunction will not harm the public interest.
E.g., Walgreen Co. v. Hood, 275 F.3d 475, 477 (Sth Cir. 2001). The Court finds that
Positive Software is entitled to injunctive relief on its copyright infringement claim. Because
the Court would not consider any greater relief on any of Positive Software’s other theories,
it is unnecessary to address those theories in this Order.

A, Likelihood of Success on the Merits

The Court finds that Positive Software owns the rights to LoanForce and holds valid
copyright registrations for LoanForce and its component parts. The Court must first consider
whether the SQL Data Structures are copyrightable subject matter, then whether that
copyright is infringed.

Under the copyright laws, a “computer program” is “a set of statements or instructions
to be used directly or indirectly in a computer in order to bring about a certain result.” 17
U.S.C. § 101. The Court finds that the SQL Data Structures here are a set of statements to
be used indirectly in a computer in order to bring about a certain result. Accordingly, the

SQL Data Structures are proper subject matter for copyright protection.” This is consistent

*But cf. Baystate Techs., Inc. v. Bentley Sys., Inc., 946 F. Supp. 1079, 1086 (D. Mass. 1996)
(finding data structures in CAD program not independently copyrightable). One article has
suggested that data structures should not be copyrightable when that monopoly would also

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with the overall policy behind copyright law of protecting creative expression.° Although
some discussions in the legal literature give short shrift to the importance of and creative
expression in data structures,’ the Court finds that the SQL Data Structures here have the
requisite degree of creative expression to be copyrightable. This result is consistent with the
Fifth Circuit’s holding that user interface input/output formats are copyrightable. See Eng’g
Dynamics, Inc. v. Structural Software, Inc., 26 F.3d 1335 (5th Cir. 1994).

The Court now considers whether there was actionable copying of the SQL Data

Structures. Factual copying is usually shown by access and “probative similarity.” Jd. at

give the holder a monopoly over an algorithm that required use of that data structure. See
Marci A. Hamilton & Ted Sabety, Computer Science Concepts in Copyright Cases: The Path
to a Coherent Law, 10 HARV. J.L. & TECH. 239, 259-64 (1997). The article uses “data
structure” there as meaning a generic type of structure, rather than a particular
implementation of a database. Thus, to permit a copyright of the linked list data structure
would be impermissible because it would preclude use of an algorithm (such as Quicksort)
that requires that type of data structure. Jd. at 259-60. The article does not appear to suggest
that a specific database structure used in a specific commercial application is not a proper
subject for copyright. In any event, there is no indication in the record here that copyright
of the SQL Data Structures would result in a monopoly in any algorithm.

°The Court notes by way of example the extensive academic literature in database design and
the flourishing development of XML, a data description “meta-language.” See
http://www.w3.org/xml. This level of creative expression goes well beyond “some minimal
degree of creativity” or a “minimal creative spark.” Feist Publications, Inc. v. Rural Tel.
Serv. Co., Inc., 499 U.S. 340, 362, 363 (1991) (compilation of telephone book white pages
not copyrightable).

'E.g., Baystate, 946 F. Supp. at 1090

*Likewise, the Court finds that there are more than one or a few ways to organize the data
structures required for programs such as LoanTrack and LoanForce, so the idea here does not
merge with the expression. E.g., Gates Rubber Co. v. Bando Chem. Indus., Ltd., 9 F.3d 823,
837 (10th Cir. 1993).

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1340. Once factual copying is shown, the court must determine whether that was legally
actionable by determining substantial similarity. Jd. at 1341. The Court’s analysis of this
issue is substantially simplified by the fact that LoanTrack-1 contains substantial verbatim
or near-verbatim copying of the SQL Data Structures. The Court finds that New Century had
access to the SQL Data Structures and that there is enough probative similarity to find that
New Century factually copied the SQL Data Structures.

Substantial similarity is usually determined in the computer software context by the
abstraction-filtration-comparison methodology. /d. at 1343. Due to the verbatim or near-
verbatim copying at issue here, the Court need not undertake the abstraction step of the
analysis. In connection with filtering out unprotectable elements from protectable
expression, New Century argues that the SQL Data Structures are generic. This is the
computer software version of the scenes a faire doctrine. See Mitchell Zimmerman,
Baystate: Technical Interfaces Not Copyrightable — On to the First Circuit, THE COMPUTER
LAWYER, April 1997, at 9, 16-17. Certain elements of the SQL Data Structures might be
dictated by external market factors. See Plains Cotton Coop. Ass’n v. Goodpasture
Computer Serv., Inc., 807 F.2d 1256, 1262 (Sth Cir.), cert denied, 484 U.S. 821 (1987);
Eng’g Dynamics, 26 F.3d at 1346-47. However, there is no evidence in this record that the
detailed structure of the SQL Data Structures — the organization of data into tables, the
selection of column elements for the tables, the names, data types, and sizes of the column

elements — is dictated by external market factors, and the Court finds that structure is not

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dictated by external factors. Accordingly, the Court need not “filter out” any of the SQL

Data Structures as unprotectable expression dictated by market factors.’

°A similar argument is sometimes made under this rubric. Some argue that the customer
desire for functional compatibility with a copyrighted work is a “market factor” that makes
those elements required for compatibility unprotected. See Baystate, 946 F. Supp. at 1088-
89. This confuses the functional requirements of the application (e.g., to perform word
processing) with the commercial desirability of compatibility (e.g., greater market for word
processor if it will import Microsoft Word .doc file formats). Although New Century does
not make a compatibility argument here, that kind of compatibility issue appears to be
factually what motivated New Century — in order to transition away from the LoanForce
product, it was more convenient for New Century to copy the SQL Data Structures for
awhile.

This commercial compatibility argument is more in the nature of a fair use argument,
rather than an argument that certain aspects of the copyrighted work were dictated by market
factors and thus were unprotectable. See Zimmerman, supra, at 17 (Baystate analysis
“confuses protectability with fair use”). Commercial compatibility does not fare well as a
fair use argument, however, because it typically involves depriving the copyright holder of
a license fee for the commercial benefit of the infringer. See 17 U.S.C. § 107 (factors
determining fair use include whether use is commercial and the effect of the use on the
market for or value of the copyrighted work); Sony Corp. v. Universal City Studios, Inc., 464
U.S. 417, 451 (1984) (“every commercial use of copyrighted material is presumptively an
unfair exploitation of the monopoly privilege that belongs to the owner of the copyright”);
Harper & Row, Publishers, Inc. v. Nation Enters., 471 U.S. 539, 562 (1985) (same).

The Court confesses some puzzlement with the apparent attractiveness of this commercial
compatibility argument in the computer software copyright arena. It is not an argument that
would even be attempted in traditional areas of copyright. (“In order to sell colored pieces
of cardboard, market factors required that I duplicate the appearance of Pokemon/Yu-Gi-
Oh/Magic Cards in order to be compatible.”) The persistence of the argument in the
computer software copyright context perhaps reflects unease with the fit between computer
software and copyright, and a perception that market needs justify a bit of judicial fiddling
with the scope of copyright. What the market needs is perhaps better left to the realm of
private contract, legislative change, or, in the appropriate case, antitrust law.

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Finally, the Court turns to comparison. The Court’s task here is made somewhat more
difficult in that neither party provided complete copies of both works.!° The record before
the Court shows near-verbatim copying of significant portions of the SQL Data Structures.
Even given a sliding scale with relatively narrower protection for functional and nonfiction
works, Eng’g Dynamics, 26 F.3d at 1348, the Court finds that the amount and near verbatim
nature of the copying show substantial similarity between LoanTrack-1 and the SQL Data
Structures. That copying is therefore legally actionable. Accordingly, the Court holds that
Positive Software has shown a substantial likelihood of success on the merits of its claim that
LoanTrack-1 (including the associated LFMoon and LTKMoon components) infringe
Positive Software’s copyrights in LoanForce.

B. Other Factors Support Injunctive Relief

Although a finding of copyright infringement does not give rise to a presumption of
irreparable harm, Plains Cotton, 807 F.2d at 1261, a finding of irreparable harm often
naturally, if not inevitably, follows from a finding of infringement.'’ Positive Software’s
copyright is a right of statutory and even constitutional magnitude. Continuing infringement

of that right cannot be adequately addressed by damages after the fact. Accordingly, Positive

"Defendants refused to produce copies of their source code to Positive Software during
discovery until directly ordered to do so following the preliminary injunction hearing.

''New Century acknowledges the possibility of irreparable harm in the Software Subscription
Agreement, paragraph 7F. Although the pro forma contractual recital is certainly not binding
on the Court, it is at least some evidence that supports the Court’s finding on this point.

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Software has shown a threat of irreparable harm.'? The balance of harm analysis is made
easier by New Century’s recent offer to refrain voluntarily from the conduct covered by the
preliminary injunction entered here. The fact that New Century is willing to make that
undertaking voluntarily indicates to the Court that any harm to New Century from such an
undertaking is minimal and outweighed by the possible harm to Positive Software flowing
from continued infringement. Finally, the public interest does not appear implicated here,
other than the public interest inherent in enforcing the copyright laws. On balance, and
considering all four factors, the Court finds that Positive Software has shown it is entitled to
injunctive relief."
III. POSITIVE SOFTWARE MUST ARBITRATE ITS REMAINING CLAIMS

The Defendants move the Court to compel arbitration of Positive Software’s claims.
New Century" argues the basis for this compulsion is an arbitration clause found in the
Software Subscription Agreement entered into by New Century and Positive Software

stating:

"The fact that New Century has recently offered to quit infringing voluntarily does not
eliminate that threat, as such a voluntary commitment could be withdrawn as easily as it was
given.

"The Court declines to grant Positive Software its requested relief of impoundment under
the Copyright Act, and the Defendants’ objections to the affidavits of Edward Mandel and
Judy Sanchez Etchison, filed on April 4, 2003, are overruled.

“The remaining Defendants, not parties to the Software Subscription Agreement, contend
that Positive Software’s claims against them should be compelled to arbitration under the
doctrine of equitable estoppel, discussed infra.

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If any of the Parties disagree with respect to whether any of the other Parties
have breached any of the terms or conditions of this Agreement, or if the
Parties have a controversy, claim or dispute arising out of or related to the
terms and conditions of this Agreement, the disagreement shall be settled by
binding arbitration in accordance with the Federal Arbitration Act (“FAA”).

SSA at § 15. Positive Software counters that its claims do not fall within the scope of the
arbitration clause because paragraph 7F of the Software Subscription Agreement carves out
disputes pertaining to the disclosure of confidential information:

Customer understands and acknowledges that any disclosure or

misappropriation of any Confidential Information in violation of this

Agreement may cause Positive irreparable harm, the amount of which may be

difficult to ascertain, and therefore agrees that Positive shall have the right to

apply to a court of competent jurisdiction for specific performance and/or an

order restraining and enjoining any such further disclosure or breach and for

such other relief as Company shall deem appropriate. Such right of Positive

is to be in addition to the remedies otherwise available to Positive at law or in

equity. Customer expressly waives the defense that a remedy in damages will

be adequate and any requirement for posting bond by Positive in an action for

specific performance or injunction.
SSA at § 7F. The Court finds that Positive Software’s claims against New Century fall
within the scope of the arbitration clause of the Software Subscription Agreement, because
the claims arise out of and relate to the terms and conditions of the Software Subscription
Agreement. Paragraph 7F of the Software Subscription Agreement contemplates preliminary
relief by a court of competent jurisdiction for claims pertaining to the disclosure or
misappropriation of confidential information.

The FAA creates “a body of federal substantive law of arbitrability, applicable to any

arbitration agreement within the coverage of the Act.” Moses H. Cone Memorial Hosp. v.

Mercury Const.Corp., 460 U.S. 1, 24 (1983). Section 2 of the FAA states that a written

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arbitration agreement in any contract involving interstate commerce is valid, irrevocable, and
enforceable except on grounds that would permit the revocation of a contract in law or
equity. 9 U.S.C. § 2.

In deciding whether parties have agreed to arbitrate a particular claim, a court must
determine “(1) whether there is a valid agreement to arbitrate between the parties; and (2)
whether the dispute in question falls within the scope of that arbitration agreement.”
Personal Security & Safety Sys., Inc. v. Motorola Inc., 297 F.3d 388, 392 (5th Cir. 2002)
(quoting OPE Int'l LP v. Chet Morrison Contractors, Inc., 258 F.3d 443, 445 (5th Cir.
2001)). Doubts concerning the scope of coverage of an arbitration clause ordinarily are
resolved in favor of arbitration. Personal Security & Safety Sys., 297 F.3d at 392. (internal
quotations and citations omitted). A valid agreement to arbitrate, therefore, applies unless
it can be said with positive assurance that the arbitration clause is not susceptible of an
interpretation which would cover the dispute at issue. Jd. Here, the parties do not dispute
the validity of the Software Subscription Agreement, rather Positive Software argues that its
claims pertain to the disclosure and misappropriation of confidential information and, thus,
are carved out of the general arbitration clause and addressed specifically in paragraph 7F
of the Software Subscription Agreement. The Court does not agree.

The relevant part of paragraph 7F is one very long sentence stating that New Century
acknowledges that any disclosure or misappropriation of confidential information in violation
of the Software Subscription Agreement may cause Positive Software irreparable harm,

therefore Positive Software has the right to apply to a court for specific performance of the

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Software Subscription Agreement or for an order restraining and enjoining any further
disclosure of confidential information or breach of the Software Subscription Agreement and
for such other relief as Positive Software shall deem appropriate. The Court interprets
paragraph 7F to grant Positive Software the right to apply to a court for preliminary relief,
as evidenced by the predicate acknowledgment of irreparable harm and subsequent waiver
of bond and defense that a remedy in damages is adequate, to stop the disclosure or
misappropriation of its confidential information. Though Positive Software argues that the
last part of the sentence “and for such other relief as Positive Software shall deem
appropriate” gives it the right to bring this suit for damages, the Court does not construe the
“other relief” language so broadly. To allow Positive Software to choose between a trial and
an arbitration in disputes pertaining to the disclosure or misappropriation of confidential
information eviscerates the broad scope of the arbitration clause and is contrary to the context
of paragraph 7F and the overall structure of the Software Subscription Agreement. Thus, the
court interprets “other relief’ to mean other preliminary relief in addition to specific
performance and injunction, for example, as Positive Software requests in its motion pending
before the Court, impoundment under the Copyright Act. This interpretation of paragraph
7F allows it to be read in harmony with the arbitration clause of the Software Subscription
Agreement. Positive Software’s claims against New Century, therefore, fall within the scope
of the Software Subscription Agreement’s arbitration clause, because Positive Software’s

claims arise out of and relate to the Software Subscription Agreement. Therefore, the Court

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grants New Century’s motion to compel arbitration and to stay proceedings, and Positive
Software must arbitrate its claims against New Century in the arbitration currently pending.

The remaining Defendants, New Century Corporation, eConduit Corporation, the
AnyLoan Company, Jeff Lemiex and Frank Nese (collectively “Nonsignatory Defendants’’),
also move for an order compelling Positive Software to arbitrate its claims against them.
Though the Nonsignatory Defendants are not parties to the Software Subscription
Agreement, which contains the contractual waiver of Positive Software’s right to a trial,
these Defendants argue that Positive Software is required to arbitrate its claims against them
in accordance with the doctrine of equitable estoppel. The Court agrees.

Though parties who have not expressly agreed to arbitration generally will not be
compelled to arbitrate claims, federal policy allows a nonsignatory to a contract to compel
arbitration under an equitable estoppel theory. See Grigson v. Creative Artists Agency,
L.L.C., 210 F.3d 524 (Sth Cir. 2000). Whether to utilize equitable estoppel is within a court’s
discretion. Jd. at 528. The Fifth Circuit, in Grigson, adopted the Eleventh Circuit’s
“imtertwined-claims test” formulated in MS Dealer Serv. Corp. v. Franklin, 177 F.3d 942,
947 (11th Cir. 1999), in which the court held that equitable estoppel allows a nonsignatory
to compel arbitration in two different circumstances:

First, equitable estoppel applies when the signatory to a written agreement

containing an arbitration clause must rely on the terms of the written

agreement in asserting its claims against the nonsignatory. When each ofa
signatory’s claims against a nonsignatory makes reference to or presumes the
existence of the written agreement, the signatory’s claims arise out of and

relate directly to the written agreement, and arbitration is appropriate. Second,
application of equitable estoppel is warranted when the signatory to the

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contract containing an arbitration clause raises allegations of substantially

interdependent and concerted misconduct by both the nonsignatory and one or

more of the signatories to the contract. Otherwise the arbitration proceedings

between the two signatories would be rendered meaningless and the federal

policy in favor of arbitration effectively thwarted.
Id. at 527. Though Positive Software argues, without authority, that both elements of the
intertwined-claims test must be present to compel the claims of a nonsignatory, the Court
reads Grigson to require only one. The language of the opinion itself states that arbitration
may be compelled in “two different circumstances” and that equitable estoppel is “much
more readily applicable when the case presents both independent bases.” /d. The Court
therefore interprets the intertwined-claims test under Grigson to require only one of the two
independent bases to be present when compelling arbitration.’

Positive Software’s claims against the Nonsignatory Defendants stem from the
relationship between New Century and Positive Software that was governed by the Software

Subscription Agreement. However, not all of Positive Software’s claims are dependent upon

the Software Subscription Agreement. Positive Software asserts a myriad of claims against

'’This reading of Grigson in consonant with the Fifth Circuit’s more recent opinion in Hill
v. G.E. Power Systems, when the court considered both independent bases in determining
whether the district court abused its discretion in failing to compel arbitration. 282 F.3d 343
(Sth Cir. 2002). If each basis was required to compel arbitration, the court would have ended
its analysis when it determined the first basis inapplicable to the facts of the case. Rather,
Justice Higginbotham continued on to find that the signatory’s claims against the
nonsignatory raised allegations of interdependent and concerted misconduct under the second
Grigson basis. Id. at 439. Ultimately, however, the Fifth Circuit upheld the lower court’s
ruling because its decision was not “premised on an application of the law that is erroneous”
or “‘an assessment of the evidence that is clearly erroneous,” and the lower court was “better
equipped to make the call” of whether compelling arbitration was appropriate. Id.

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the Nonsignatory Defendants including copyright infringement, misappropriation of trade
secrets and intellectual property, conversion, fraud, violation of the Digital Millennium
Copyright Act, and civil conspiracy. While some of these claims, such as misappropriation
of trade secrets and intellectual property, may presume the existence of the Software
Subscription Agreement, each claim does not rely upon the terms of the Software
Subscription Agreement. Therefore, the first independent basis for equitable estoppel is not
met.

The second basis, however, is fully applicable to the facts of this case. Positive
Software’s allegations against the Nonsignatory Defendants all concern their intertwined
conduct with New Century. Positive Software generally alleges throughout the First
Amended Complaint that the “Defendants” pirated its software, derived source code, and
created new software incorporating LoanForce. Moreover, Positive Software claims a civil
conspiracy among the Defendants to violate its intellectual property rights. Since all of
Positive Software’s allegations against the Nonsignatory Defendants concern their
interdependent and concerted misconduct with New Century, the second independent basis
for equitable estoppel is met. The Court, therefore, grants the Nonsignatory Defendants’

motion to compel arbitration.

CONCLUSION
It is, therefore ORDERED that Defendant New Century Mortgage Corp. and any

person acting in active concert with it, upon Positive Software posting security in the amount

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of $1000, is forthwith enjoined from any use of the LoanForce software, the LoanForce
database, LoanTrack-1, LF Moon, and LTK_ Moon. It is further ORDERED that New
Century delete or return all LoanForce software, including application software and the
LoanForce database, that New Century has the ability to access (excepting materials
produced in discovery for use in this litigation and/or arbitration). It is further ORDERED
that all parties proceed to arbitrate all remaining claims in this action immediately. It is
further ORDERED that all matters in this action are STAYED pending arbitration, except

for that discovery provided by separate Order this day.

SIGNED this 7& day of April, 2003

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David C. Godbey
United States District Jadg

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\ US. DISTRICT COU |
\\ wh IN THE UNITED STATES DISTRICT COURT yi yas! OF TEXAS
\O NORTHERN DISTRICT OF TEXAS —
DALLAS DIVISION
os APR 29 2003
POSITIVE SOFTWARE SOLUTIONS, §
INC. § CLERK, U.S. DISTRICT COURT
§ *Y Deputy
Plaintiff, §
§
V. § Civil Action No. 3:03-CV-0257-N
§
NEW CENTURY MORTGAGE §
CORPORATION, ET AL.., §
§
Defendants. §

ORDER

Although the Plaintiff, Positive Software Solutions, Inc. (“Positive Software’)
requested in its motion for preliminary injunction that the Defendants return to Positive
Software any originals or copies of the LoanForce software in their possession, the Court has
been advised that Positive Software no longer seeks this relief. According, the portion of the
Court’s Memorandum Opinion and Order, issued on April 28, 2003, that reads: “It is further
ORDERED that New Century delete or return all LoanForce software, including application
software and the LoanForce database, that New Century has the ability to access (excepting
materials produced in discovery for use in this litigation and/or arbitration)” is hereby

VACATED.

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SIGNED this 2S day of April, 2003.

DA Ceds

David C. Godbey
United States District Judge

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